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                 EXHIBIT 31
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                                                                             732

1                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA
2

3      UNITED STATES OF AMERICA,
       et al.,                                           Civil Action
4                      Plaintiffs,                       No. 1:20-cv-3010

5                  vs.                                   Washington, DC
                                                         September 14, 2023
6      GOOGLE, LLC,                                      1:36 p.m.

7                      Defendant.                        Day 3
       _____________________________/                    Afternoon Session
8

9
                              TRANSCRIPT OF BENCH TRIAL
10                       BEFORE THE HONORABLE AMIT P. MEHTA
                            UNITED STATES DISTRICT JUDGE
11

12     APPEARANCES:

13     For DOJ Plaintiffs:         KENNETH DINTZER
                                      U.S. Department of Justice
14                                    1100 L Street, NW
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15
                                   JOSHUA HAFENBRACK
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                                   RICHARD GOWER
17                                 MEAGAN BELLSHAW
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                                      Washington, DC 20001
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20     For Plaintiff               JONATHAN SALLET
       State of Colorado:             Colorado Department of Law
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23                                 WILLIAM CAVANAUGH, JR.
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24                                    1133 Avenue of the Americas #2200
                                      Suite 2200
25                                    New York, NY 10036
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                                                                            771

1      Murdock-Park for the United States.        We call Jim Kolotouros.

2      He is the Google vice president of android partnerships.          Your

3      Honor, because Mr. Kolotouros will be speaking about

4      contractual terms, we expect that we will have to seal part of

5      his session today.

6            THE COURT:    Okay.

7            DEPUTY CLERK:     Do you solemnly swear or affirm that the

8      testimony you're about to give this Court will be the truth,

9      the whole truth, and nothing but the truth?

10           THE WITNESS:    I do.

11           DEPUTY CLERK:     Thank you.

12           THE COURT:    Mr. Kolotouros, welcome.

13           THE WITNESS:    Thank you.

14           DIRECT EXAMINATION OF JAMES KOLOTOUROS

15     BY MS. MURDOCK-PARK:

16           Q.   Good afternoon, Mr. Kolotouros.       I'm Erin

17     Murdock-Park, we met at one of your depositions.

18           A.   Good afternoon.

19           Q.   I'm going to hand up a witness binder, if I may

20     approach.

21           A.   Thank you.

22           THE COURT:    Counsel, just for your -- well, let me ask you

23     this:   The closed session, approximately how far into your

24     examination do you expect to need to go into a closed session?

25           MS. MURDOCK-PARK:     My most earnest desire is we can get
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 1                    IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
 2
        United States of America,    )
 3      et al.,                      )    PUBIC
                                     )
 4                       Plaintiffs, )
                                     ) CV No. 20-3010
 5                               vs. ) Washington, D.C.
                                     ) September 15, 2023
 6      Google LLC,                  ) 9:30 p.m.
                                     )
 7                        Defendant. )
        _____________________________)
 8

 9                          TRANSCRIPT OF BENCH TRIAL
                        BEFORE THE HONORABLE AMIT P. MEHTA
10                         UNITED STATES DISTRICT JUDGE

11      APPEARANCES:
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 7            (The following proceedings were held in open session:)

 8                   MS. MURDOCK-PARK:    May I resume, Your Honor?

 9                   THE COURT:   You may.    Thank you.

10                         DIRECT EXAMINATION (Cont.)

11      BY MS. MURDOCK-PARK:

12      Q.   Mr. Kolotouros, I would like to change subjects entirely

13      and talk about your written communications when you were

14      working at Google.

15      A.   Okay.

16      Q.   You've worked at Google for about 20 years?

17      A.   That is correct.

18      Q.   And you were placed on a legal hold in December 2019,

19      during the investigation in this case?

20      A.   Yes.

21      Q.   Placed on another legal hold in January 2021, after the

22      lawsuit was filed?

23      A.   That is correct.

24      Q.   But for over a decade before that, you'd worried about

25      being deposed in an antitrust investigation, right?
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 1      A.   I recognize that Android was -- had been exposed to

 2      potential regulatory action, so I was sensitive to how we

 3      conducted the business and what might happen as a result of

 4      that.

 5      Q.   Okay.   So for -- but for -- you had those concerns for over

 6      a decade, right?

 7      A.   Since my -- since I joined Android, that was something I

 8      was sensitive to, yes.

 9      Q.   And because you were concerned about being deposed in an

10      antitrust investigation into Google, you worked to protect

11      Google, right?

12      A.   I wouldn't say I was worried about being deposed.           I was

13      worried that that might be something that might happen as a

14      result of my being in Android.

15      Q.   Okay.   But you worked to protect Google, didn't you?

16      A.   I would say I worked to administer and work within the

17      Android ecosystem in a way that I thought was appropriate, yes.

18      Q.   Okay.   So, just to make sure I'm on the same page, you

19      agree that you worked to protect Google or you disagree?

20      A.   I agree that I did everything I can to make sure that we

21      were doing things in the best possible way for Google and for

22      Android, yes.

23      Q.   So -- and I just want to make sure, because I don't think

24      you're quite answering my question, Mr. Kolotouros.

25               Are you saying you did not work to protect Google?
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 1      A.   I think it's safe to say I was working to protect Google

 2      and preserve what the Android ecosystem was meant to deliver to

 3      the ecosystem and to Google.

 4      Q.   Okay.    You wanted to protect Google because you're a loyal

 5      employee, correct?

 6      A.   I think it goes beyond loyalty to wanting to protect the

 7      company.     It's also how we administered the ecosystem to make

 8      sure it was healthy and strong.

 9      Q.   Do you consider yourself to be a loyal Google employee?

10      A.   After 20 years of employment, I believe I'm a loyal

11      employee, yes.

12      Q.   So as a loyal employee, to protect Google you took steps to

13      prevent your written communications from being produced in

14      discovery, right?

15      A.   I don't know if I would frame it that way.

16      Q.   Well, you took steps to copy attorneys on all emails that

17      discussed the MADA, right?

18      A.   Whenever I was discussing anything over email that

19      discusses contracts or commercial terms -- well, mainly

20      contracts or what we focus on, memorialize within my particular

21      part of the business, I would copy an attorney to ensure that

22      my interpretation or characterization of what was discussed in

23      the email was accurate; and if not, invited the attorney to

24      weigh in, if possible, yes.

25      Q.   Okay.    So, you also then copied attorneys on all emails
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 1      your Google Chat history to history on, right?

 2      A.   I do not, that is correct.

 3      Q.   But you were aware that you were on litigation hold?

 4      A.   I was.

 5      Q.   You were actually on more than one litigation hold, right?

 6      A.   Yes.

 7      Q.   Before Google changed its corporate policy in February

 8      2023, what steps did you take to preserve your history of

 9      chats?

10      A.   I generally tried to avoid conversations over Chat with

11      history off that dealt with substantive business matters,

12      period.

13      Q.   But, you generally tried to avoid conversations.            That, we

14      just established.     That doesn't mean you didn't have

15      conversations, right?

16      A.   I don't recall specific conversations with history being

17      off where I was having substantive business conversations on

18      topics.

19      Q.   Okay.    But you don't know if you actually had any

20      conversations, right?

21      A.   I can't recall.

22      Q.   If you had a history-off conversation on Chat, would you

23      have attempted to preserve it?

24      A.   If it was substantive, I think I would have tried to

25      preserve it.     But, at the same time, I don't recall having
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 1      substantive business conversations.

 2      Q.   How would you have tried to preserve a substantive business

 3      conversation on Chat?

 4      A.   It would have been to turn history on.

 5      Q.   And you never turned history on, correct?

 6      A.   I do not recall having turned history on.

 7      Q.   Now, you use Google Chat frequently, right?

 8      A.   I do.

 9      Q.   And several times a day?

10      A.   Yes.

11      Q.   You use Google Chat with your coworkers?

12      A.   I do.

13      Q.   And have any of your coworkers ever asked you to have a

14      history-off Chat?

15      A.   I can't recall.      I don't generally remember all my chats.

16      But I can't recall any offhand.

17      Q.   Okay.   You know that some of your coworkers intentionally

18      take chats about MADA or RSA to history off, right?

19      A.   I'm not aware of that.

20      Q.   Okay.

21                   MS. MURDOCK-PARK:    We can go ahead and take down

22      UPX1088.

23                   And I want to move to admit, if --

24                   THE COURT:    1088 is admitted.

25                   MS. MURDOCK-PARK:    Thank you.
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 1       BY MS. MURDOCK-PARK:

 2       Q.   Mr. Kolotouros, you also use Google Chat with your

 3       supervisors, correct?

 4       A.   Yes.

 5       Q.   Okay.    And including your former supervisor, Jamie

 6       Rosenberg?

 7       A.   Yes.

 8       Q.   And you have used Chat with Mr. Rosenberg to discuss

 9       Samsung revenue share, right?

10       A.   I can't recall precise instances where I have, but I

11       imagine so, yes.

12       Q.   Mr. Rosenberg also kept his Chat default set to history

13       off, right?

14       A.   I do not know what Mr. Rosenberg set his Chat history to.

15       Q.   Do you recall him ever asking to turn Chat history on?

16       A.   I don't recall him ever asking to turn Chat history on.

17       Q.   You use Google Chat to discuss business with individuals

18       outside of Google, right?

19       A.   No.    That is something I try to avoid generally.

20       Q.   Okay.    So have you ever used Google Chat with an OEM?

21       A.   I think maybe I can count on one hand the number of times I

22       received a Chat from an OEM partner.

23       Q.   Have you ever used Google Chat with anyone at Samsung?

24       A.   Yes.    On personal -- on my personal Chat I have, yes.

25       Q.   But on Google Chat specifically.
